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                      THE STATE EDUCATIONDEPARTMENTI THEUNIVERSITYOFTHESTATEOFNEW YORK/ ALBANY, NY12234

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                                                                             July 17, 2020

TO:                 New York City Impartial Hearing Officers

FROM:               Louise Decandia

SUBJECT:            The Waitlist and Pendency


              This memo is to make you aware of the Protocols being implemented for the cases
      awaiting an Impartial Hearing Officer Assignment (the "waitlist"). In order to ensure that
      cases are assigned as fairly as possible, in November 2019, the New York State Education
      Department (NYSED) directed the New York City Department of Education (NYCDOE) to
      assign cases by the date of the due process complaint filing, as a general rule, the oldest
      cases will get assigned first. However, within that general rule, in accordance with the
      requirements of federal and State law and regulations, there are prioritizations within the
      waitlist as follows:

         •   Expedited Cases, which have different procedural timelines than other special
             education due process hearings, will be prioritized on the waitlist in accordance with
             8 NYCRR §201.11;
         •   Remanded Cases, which have already had hearings held and are usually directed
             to be remanded back to the same Impartial Hearing Officer (IHO) will be prioritized
             on the waitlist;
         •   Potential Consolidation Cases, in accordance with 8 NYCRR §200.5 U)(3)(ii)(a)(2),
             are prioritized since combining two cases into one will eliminate a case from the wait
             list. When a new complaint has been consolidated with a pending complaint, the
             timeline for issuance of the decision is the same timeline as the earliest pending due
             process complaint. When considering whether to consolidate one or more separate
             requests for due process, the IHO must consider relevant factors, including those
             found in §200.5U)(3)(ii)(a)(4). The IHO must issue a written order as to whether
             he/she will or will not consolidate a subsequent due process request into a pending
             case. If the cases are not consolidated, the most recently filed case will be placed on
             the waitlist by the date of the due process complaint filing.
         •   Refiled Cases, in accordance with 8 NYCRR §200.5(j)(6)(iv), a refiled case occurs
             when a due process complaint is withdrawn, and a subsequent complaint is received
             within 12 months of the withdrawn complaint. When this occurs, the district must
             consider whether the new request includes substantially similar claims as the one
             that was previously submitted and withdrawn. In the event school personnel are
             unclear regarding the similarity of the issues, the IHO appointment should go to the
             IHO who was appointed to the withdrawn request, who would then determine whether



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      the issues are substantially similar. In accordance with previously issued guidance
      from NYSED, a due process complaint seeking tuition reimbursement for a different
      school year should not be deemed to be "the same or substantially similar claim" as
      made for a prior school year, therefore requiring appointment of the same IHO.


Other Matters of Concern

Recusals: Recusals should be occurring much less often than previously because IHOs
are no longer automatically appointed to cases, regardless of their availability to hear the
case, which was how the previous system of appointment worked. Beginning in November
2019, if an IHO is unable to adjudicate a case because he/she is unavailable, the IHO should
be taking himself/herself out of rotation, rather than accepting a case and recusing from it
later. When a recusal occurs, it is to be for a valid reason. When a case is subject to a
recusal, it will continue to be offered to IHOs until accepted. Finally, please note, when an
IHO does not accept a potential consolidation, he or she should specifically state in the
recusal "consolidation declined" so that accurate recusal information can be collected.

Pendency: The NYCDOE recently prepared a pendency form which it is requesting parents
attach to their the due process complaint. The form asks that parents identify the student's
pendency placement, program and/or services, if any, and identify the Individualized
Education Program (IEP), Individualized Education Services Program (IESP), Finding of
Facts and Decision (previous IHO decision or order), or other basis for that pendency
entitlement. When there is a contested pendency matter, the New York City Impartial
Hearing Office will appoint an IHO to schedule a pendency hearing. Once pendency is
determined however, the case will be placed back on the waitlist. Therefore, we are
asking your assistance to accept these cases for a limited time, so that a student's pendency
may be assured while the parent awaits assignment of an IHO.

As explained above, these protocols are necessary while a waitlist remains in place to
ensure that due process complaints are assigned in as fair and efficient a manner as
possible, in accordance with federal and State laws and regulations pertaining to special
education due process procedures. NYSED's Office of Special Education understands that
working under the pressure of a waitlist is difficult. We thank you for your support and will
continue to seek additional input and assistance from the IHOs as we seek to make changes
to address the waitlist. If you have any questions regarding these protocols, please contact
the due process unit at specedih@nysed.gov.


c: C. Williams




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                                                                             August 10, 2020

TO:                New York City Impartial Hearing Officers

FROM:              Louise Decandia

SUBJECT:           Update to the July 17, 2020 Memorandum Regarding the Waitlist and Pendency


             On July 17, 2020 I issued a memo to make you aware of the protocols being
      implemented for the cases awaiting an Impartial Hearing Officer Assignment (the ''waitlist").
      As explained in that Memorandum, in order to ensure that cases are assigned as fairly as
      possible, in November 2019, the New York State Education Department (NYSED) directed
      the New York City Department of Education (NYCDOE) to assign cases by the date of the
      due process complaint filing, as a general rule, the oldest cases will get assigned first.
      However, within that general rule, in accordance with the requirements of federal and State
      law and regulations, there are prioritizations within the waitlist regarding expedited cases,
      remanded cases, potential consolidation cases and what are referred to as "refiled" cases,
      which cases fall within 8 NYCRR §200.5(j)(6)(iv).

      Consolidation/Refiled Cases

         •   Several IHOs have asked whether they must place a case back on the waitlist, when
             they decide not to consolidate. 8 NYCRR §200.5 G)(3)(ii)(a)(2), allows an IHO to
             maintain the case and proceed separately. However, we ask that IHOs consider the
             goal of maintaining a system that is as fair as possible while parents await
             appointment of an IHO.

         •   IHOs have asked if they will be paid an administrative fee for determining whether or
             not to keep a consolidated or refiled case. Upon conferring with the New York City
             Impartial Hearing Office, the administrative fee will not be paid for determining
             whether to keep a refiled case. However, IHOs will receive an administrative fee if an
             order on consolidation is issued and the IHO does not keep the non-consolidated
             case.

         •   IHOs have asked why they must recuse if they do not keep a consolidation or refiled
             case. Under both regulatory sections, the requirement is that the IHO "shall be
             appointed" to the subsequent due process complaint. Because an appointment is
             required, it has been determined that a recusal is appropriate. However, in order to
             avoid IHOs maintaining cases for the sole reason of avoiding a recusal, NYSED
             suggests that when recusing, the reason provided should be "consolidation declined"



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       and/or "refiled declined." This information will assist NYSED as it evaluates recusal
       data and will not be considered in violation of the November 2019 memorandum
       provided to IHOs from Assistant Commissioner Christopher Suriano.

   •   One IHO asked whether the New York City Impartial Hearing Office is reviewing the
       due process complaints to determine if they are substantially similar to a previously
       withdrawn complaint. The New York City Impartial Hearing Office's paralegals and
       attorneys review all filings submitted to the office, irrespective of the high volume of
       impartial hearings filed. If an IHO is assigned to a case that they believe is not the
       same or substantially similar as a previously withdrawn due process complaint, then
       the New York City Impartial Hearing Office requests that the IHO email management
       for review and clarification.

Pendency

   •   IHOs have asked whether they may keep a case after being assigned pendency.
       There is no mechanism to ensure that IHOs are placing their contested pendency
       matters back on the waitlist. However, I again ask IHOs to consider the goal of
       maintaining a system that is as fair as possible while parents await appointment of an
       IHO. Currently, there are parents who have been waiting since March 2020 for an
       IHO assignment and as many of you know, September is traditionally a month where
       thousands on new due process complaints are filed. Therefore, IHOs are asked to
       notify the New York City Impartial Hearing Office after determining pendency so that
       the appointment may be rescinded, and the case placed on the waitlist. Some IHOs
       have asked what they will be paid for a contested pendency matter. My office has
       checked with the New York City Impartial Hearing Office and IHOs will be paid
       $150.00 for a pendency order; $100.00 an hour for a hearing and a $200.00
       administrative fee.

   •   Finally, IHOs have asked if they must recuse after handling a contested pendency
       matter. Upon conferring with the New York City Impartial Hearing Office, in these
       circumstances, when IHOs issue a pendency decision and the case is being placed
       back on the waitlist, the IHO should email IH0Recusals@schools.nyc.gov and state
       "please rescind me from this case, pendency has been determined." An IHO will then
       be rescinded from the case.

I hope this further clarifies some of the questions and concerns raised in response to the
July 17, 2020 memorandum. Any further issues or questions concerning compensation may
be addressed by contacting the New York City Impartial Hearing Office. If you have any
additional questions regarding the waitlist protocols, please contact the due process unit at
specedih@nysed.gov.




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Department of
Education
Chancellor Richard A. Carranza



Office of General Counsel

                                                                    January 12, 2021

Via Email

Re: Prioritization of Cases for Assignment to Impartial Hearing Officers

Dear Counsel:

We are writing to give you more information about a case survey we sent you
(htq>s://forms.office.com/Pages/ResponsePage.aspx?id=tyxJGEXvYUWFcQxCSfesB
4albxRNXJVClk4Wtbj4rAFURVRNRVgyMThCSUpCSkZMVjhOWllzWklLNCQlQCN0P
Wcu), which asked you to categorize your pending due process cases. Many of you have
raised questions and concerns about this smvey, and we want to explain both its purpose
and why we need your cooperation in filling it out.

As you know, there is cunently a large backlog of due process complaints that have not
yet been assigned to a hearing officer. Waiting for a hearing officer can have a
pa1iicularly severe impact on some students, including students who are not cunently
receiving any special education services, those receiving limited services, or those whose
families bear the financial burden of services while waiting for resolution of their due
process complaints.

DOE, as well as NYSED and Class Counsel representing students in a lawsuit concerning
delays in the impariial hearing process (JS.M, et al. v. NYC Department of Education,
et al., 20 CV 705 (E.D.N.Y.)), received reporis of concerns that the chronological
assignment of hearing officers did not equitably address the complaints and agree there is
a need to prioritize ceriain cases on the waitlist. No method of prioritization will be
perfect, but a framework like the one in the survey will address the most pressing cases.
The survey categories reflect a compromise that both addresses the underlying goal and
can be implemented. Although each case has nuances, every case should fit into one of
the categories. JSM counsel, DOE, and NYSED all suppmt promptly prioritizing cases
based on the sUivey. If you believe that you have a case with exigent circumstances not
captured by these categories and would like to request immediate appointment of a
hearing officer, you should contact IH0waitlist@schools.nyc.gov with an explanation of
the urgency. When appropriate, DOE will seek approval from NYSED to prioritize cases
based on exigent circumstances.




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We ask for your cooperation with this survey to help us protect the most vulnerable New
York City special education students. Staiiing Tuesday, January 19, 2021, DOE will
begin to prioritize IHO assignment to those cases for which responses have been
received, based on IHO availability. The cases for which no response has been received
will not be prioritized for assignment. Please note that you may fill out the survey for a
case at any time, after which the case will be prioritized accordingly.




Judy Nathan, Esq.
Interim Acting General Counsel
Office of General Counsel
NYC Department of Education




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